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                                                         Exhibit A to the Complaint
Location: Newark, NJ                                                                               IP Address: 100.35.116.66
Total Works Infringed: 48                                                                          ISP: Verizon Fios
 Work      Hashes                                                                UTC        Site          Published     Registered   Registration
 1         Info Hash:                                                            05-29-     Blacked       02-11-2018    03-02-2018   PA0002104740
           AE239D62AECAF3E11B72744CA93C44F09BAECD9C                              2021       Raw
           File Hash:                                                            10:58:28
           6B4C4CD4D964230FA2015B2EC284EBE46D07C20601BAA85EACA54D4B3B52BEA3
 2         Info Hash:                                                            05-18-     Tushy         08-16-2020    08-18-2020   PA0002253098
           8C0450560F9B89D6FC85B8D65FC2A45F85BEB391                              2021
           File Hash:                                                            13:57:25
           D51FF4DFDC04263DDA8DDDF1C9E02997D3C0193D83460492DD9D0589FEE5B727
 3         Info Hash:                                                            05-18-     Blacked       11-25-2019    12-09-2019   PA0002216263
           2C70F89B75ADFD345928B5439A5CAC9B5C544878                              2021       Raw
           File Hash:                                                            13:51:18
           C062B003EF1616BD8391F0904F358A200082DDA89F717B1F99E731873DA1BAA2
 4         Info Hash:                                                            05-18-     Blacked       01-12-2020    02-04-2020   PA0002225587
           966AF5D11568D7D5896168F66E882245BA8A5F07                              2021       Raw
           File Hash:                                                            13:48:41
           13ABD2A124FF486B57001E7FB865A719FBB18B92F74EF38F6CD5ECA9744EBBE2
 5         Info Hash:                                                            05-16-     Blacked       12-23-2019    01-03-2020   PA0002219636
           FF4AA172EC0D469A97A0693DDBA0DC1A4ECC701C                              2021       Raw
           File Hash:                                                            18:14:55
           3DECF0AAB8057B9C37D101B6C483E9EF52900F7E0F64F19DB44D782FD9354CF9
 6         Info Hash:                                                            05-10-     Tushy         01-31-2021    02-09-2021   PA0002276144
           FE1B5290193A13F3642F1D6FD536BF6E313D0FF6                              2021
           File Hash:                                                            13:37:23
           66FFB9A362465AB618B6925BE3B0450E0F148A32D0FAD2BF9FFE8253636584C2
 7         Info Hash:                                                            05-02-     Tushy         07-20-2018    09-05-2018   PA0002134598
           1018A676073B24EB9A7384E7BF56686079E27B27                              2021
           File Hash:                                                            12:13:25
           14933E0910B60AF2E3929652EA75A2557D35397916823CC0D76B623CECFEAD2B
 8         Info Hash:                                                            05-02-     Tushy         06-30-2019    07-17-2019   PA0002188300
           5C0D8ECA7365BEE319443F580FD34AFAA8ED2835                              2021
           File Hash:                                                            12:12:54
           C2018683EA9532C6F7C9389AF5BC6D4E6F65B7FE41A5A5370E7EE700531F4920
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         03-26-     Blacked   01-17-2019   02-22-2019   PA0002155141
       A054BDA120FDE91C4F0D50750C6E38543EDAFF39                           2021       Raw
       File Hash:                                                         14:29:52
       1B57F547B37F81ECCF645C4021D6DD5850AEFD0B1AA4A4FF4FB47A4EAB48A12F
10     Info Hash:                                                         03-23-     Tushy     06-10-2017   07-07-2017   PA0002074096
       7EE83E4C760B6740D26B1695F6723039A7D97952                           2021
       File Hash:                                                         17:46:27
       D865F55231B9415F4D2B8D03D69CAFE100F0D737CA26A0426A337C72BB8643C3
11     Info Hash:                                                         03-23-     Blacked   11-06-2017   11-27-2017   PA0002097974
       0F4CB5BFE31D785D0469C73F83F7CEB7AF0E1F9B                           2021
       File Hash:                                                         13:30:19
       5CF9341843FB7AE8329D6419CA95220B72F483EEB3AF4B0204545DE2B0D63900
12     Info Hash:                                                         03-23-     Tushy     01-01-2020   01-27-2020   PA0002223953
       8F45D583B36DC71140A38B289CE0AC68E193AF62                           2021
       File Hash:                                                         13:23:02
       6DC4660CCABA32776470F1C7621A4FA83AA6F282968245CF653CA5D40FFB44EE
13     Info Hash:                                                         03-23-     Tushy     05-31-2018   07-14-2018   PA0002131771
       F445823EE2BB5E4BF4886EB8490DF47ACC438C4E                           2021
       File Hash:                                                         13:19:20
       22227D1C627D8CA3F7FA22811CBBBA6684771E7EC3663464BE82D1F688B65A95
14     Info Hash:                                                         03-23-     Tushy     11-01-2020   11-18-2020   PA0002272627
       7EC41A2781FDD54B52A2E7B842DAADA1906D4EC9                           2021
       File Hash:                                                         13:16:51
       32A0FF90F847F3B19BAA4468BAA74EBCFBFCBD242633C4A5D1A3A06D5E04F827
15     Info Hash:                                                         03-23-     Tushy     03-07-2021   03-22-2021   PA0002282503
       8FFE838B0D45144E7F982179B0433679772F10A9                           2021
       File Hash:                                                         13:08:46
       624A54B37C805CB3364DBF562699B1C7D382AE87EF97881B8DE92A8966614612
16     Info Hash:                                                         02-27-     Blacked   02-20-2021   03-08-2021   PA0002280369
       5F686E0618BE3E4B271B6D69151098DC11B29F45                           2021
       File Hash:                                                         17:00:47
       CE89D3CAB34C7A0CE0E491E0F63EE4A94CD12EB47768D364C0CF318BC5C29499
17     Info Hash:                                                         02-17-     Vixen     12-05-2018   12-18-2018   PA0002141920
       866ED08FAA30A005479E7691EE82140D1B4C8592                           2021
       File Hash:                                                         19:26:25
       AA2912896C18FA2955A26EE8C7F058CBDB7BEA61524FE3480F75CC7F58C4B7C6
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         02-17-     Blacked   06-29-2018   07-26-2018   PA0002112160
       5D16EC2FE6C9F9FA9F5476C90525208D413532F1                           2021
       File Hash:                                                         19:19:44
       247DCE33E47A1EC566200C820669478595511EF53F3A644E15EBEE009FBBD0A0
19     Info Hash:                                                         02-10-     Blacked   08-05-2018   09-01-2018   PA0002119682
       3350AD6ED2ECD3F20CA9BFAB853A3CED164589B0                           2021       Raw
       File Hash:                                                         17:58:35
       C37AF8553805F6A6564CD2DA3705A9DAFD128B2939D7AA101D686499D196A471
20     Info Hash:                                                         01-22-     Blacked   12-13-2019   01-22-2020   PA0002234865
       2E7DB9DA1E12BC2963F7DC66AC300417AD983BC7                           2021       Raw
       File Hash:                                                         15:11:53
       358DA725020AF45E0B0CAE9E1D26EBE160E66995B1C4815EE09665B1B4F93BEF
21     Info Hash:                                                         01-14-     Blacked   05-25-2020   06-22-2020   PA0002245633
       5AF65FC2F36FDE10482D4C645E22493BBB1E7A41                           2021       Raw
       File Hash:                                                         16:36:45
       7D3192E9D7806075BD7916816DC9771E30741ACC903282A22FEEB98033F789D4
22     Info Hash:                                                         01-14-     Vixen     01-14-2019   02-02-2019   PA0002155387
       FCF2223C2AFD2901C1AC8C9EA95467B555E65E1E                           2021
       File Hash:                                                         16:35:21
       A9596964DEE36F1C6190EF9A49570A4D435010B85BD899886799BE731C4B6A07
23     Info Hash:                                                         01-12-     Blacked   03-16-2019   04-17-2019   PA0002186980
       2FC66E51857A30929D373BE21B8CD1C0FC6B76A1                           2021
       File Hash:                                                         14:49:22
       37960984BE2C789293DB422AC4FEFC69EB7CCAC1357CF00794A88F7B208E6BD2
24     Info Hash:                                                         01-11-     Blacked   04-11-2020   04-22-2020   PA0002237696
       343F820F5B838AB308F9AD8CE09C2D0380FF0083                           2021
       File Hash:                                                         13:53:48
       C8C6F22464849C0C0886B6FA6C624CECB7FEC5801EF97EBC00EB918B7D1D2B43
25     Info Hash:                                                         01-09-     Blacked   05-10-2019   07-05-2019   PA0002206368
       6B8E400282C3C9C50A8C00AEB5CD52F0B967DA0A                           2021
       File Hash:                                                         15:46:32
       8B1D77EE7A014B7106E69A34DB5318ADFB95AB580E12B4E69E44CE4A4D0FC85D
26     Info Hash:                                                         01-09-     Blacked   03-10-2020   04-15-2020   PA0002246103
       EFA937808F0ED58A57B5B7902F86CC46FFEF4A88                           2021
       File Hash:                                                         15:42:04
       B1ACA1BB3FF18B56DD4E28B45C13CEF7155C393C134B08F2317639FEF5A59520
                        Case 2:21-cv-13415-KM-LDW Document 1-1 Filed 07/07/21 Page 4 of 6 PageID: 16

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         01-09-     Blacked   01-02-2021   01-05-2021   PA0002269954
       592CC90904C53EF2703DB9CFE9C4184C72214506                           2021
       File Hash:                                                         15:37:23
       23D54B2543E07A11C8AE2914890F822A39159C9D5F9AD4C7BD1A1703C95626AB
28     Info Hash:                                                         01-07-     Blacked   06-29-2020   07-17-2020   PA0002248598
       F3D4D2BA3F7C9DB5E751343237B5C323D5202A8A                           2021       Raw
       File Hash:                                                         15:43:57
       932CAD793217FBA3E070305DD1F146DAC984F9D642FFDEAF144527040F11B8D9
29     Info Hash:                                                         11-28-     Blacked   10-27-2018   12-10-2018   PA0002145828
       4A3136B25E195764C6A5BFB40F2A05BF4D67FC78                           2020
       File Hash:                                                         08:36:32
       6795789E04678B20D40454D7E8A982DB17E652E8CAF50F29E036AA400E5CC327
30     Info Hash:                                                         11-27-     Blacked   05-23-2020   06-22-2020   PA0002245638
       9E44731E8EC3B6FD476E0A33695303251A58C476                           2020
       File Hash:                                                         15:21:16
       6E310240066A7148AF3E41F974E2DF798485CC20CD9169B21ACB3B29F1F08140
31     Info Hash:                                                         11-16-     Blacked   05-17-2018   06-19-2018   PA0002126644
       AA99615AE6C723CB3050DAC4D48D914E6D5CC02F                           2020       Raw
       File Hash:                                                         14:14:41
       D4777437331085D9F83529F722265DFAD5117630DB84AAE1C0850A6A96FB67CA
32     Info Hash:                                                         11-16-     Blacked   11-25-2019   12-09-2019   PA0002216262
       3D6417380243CB23F0AF15982571F8C8B9F61CDD                           2020
       File Hash:                                                         14:13:37
       429FE0C66A46BB5D6AB040B51F3952BC167E688D11D4EDF4F5633849F239BAFE
33     Info Hash:                                                         11-10-     Blacked   09-27-2018   11-01-2018   PA0002143428
       0616906E5B0D445A8FB469D45908C91D24F6CD2F                           2020
       File Hash:                                                         14:34:01
       9AC3BBF9185D5F2498389B013DAD21FC070F127E17E3B94B23F09A5C26518E53
34     Info Hash:                                                         10-12-     Tushy     04-06-2018   06-19-2018   PA0002126674
       C4705CDBE06284FCCC4E7C0AFA85554E5CE10645                           2020
       File Hash:                                                         13:17:43
       38CC20179FAA7E2EEEDD06E0F252EBF10C635BDF2F21540B6C96D0A18253BB10
35     Info Hash:                                                         09-25-     Blacked   06-28-2019   08-27-2019   PA0002213235
       89016206D80C924D047846A2A9DD4912A592F63C                           2020
       File Hash:                                                         15:25:06
       2B5903DE34F121905C56E7D0465FDD8249D61FE160D063D59B3046C23F738F9A
                       Case 2:21-cv-13415-KM-LDW Document 1-1 Filed 07/07/21 Page 5 of 6 PageID: 17

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
36     Info Hash:                                                         09-25-     Blacked   02-09-2020   03-18-2020   PA0002241446
       727F6E19B5AC2BC3690A251B3B14906538E75F26                           2020
       File Hash:                                                         14:58:27
       AC067B423E8001E8AC59177BEBD99B75AC307FF3FC3A8B8DE092C543AE055B29
37     Info Hash:                                                         09-17-     Blacked   12-01-2018   01-22-2019   PA0002149844
       74E070565386C10CB521376AFA332D57AE57DE3E                           2020
       File Hash:                                                         16:07:04
       C305F03E47FEC04143A5E7395AA36AFD25D181AF5702910585C5544873377C4A
38     Info Hash:                                                         09-08-     Blacked   09-17-2019   09-25-2019   PA0002203161
       75AAFCC83F053540C564E26015234507AD59D40E                           2020
       File Hash:                                                         19:02:26
       31D0D3686F31F8D213A5D9C8B5727BCE8463A4B28685D2EB05DD71F82B5B2DF4
39     Info Hash:                                                         09-08-     Tushy     07-30-2018   09-01-2018   PA0002119590
       42FB29936F0773461AB894640E5895EE9B843742                           2020
       File Hash:                                                         13:13:05
       EF61072101211DEFAC88A911C5D3CFEA3D73C0C57674E9D0614DF3ED55DCA07E
40     Info Hash:                                                         09-08-     Blacked   03-28-2019   05-28-2019   PA0002200777
       C20D8CE638A46CD39FA65004C565F7F85846691D                           2020       Raw
       File Hash:                                                         12:46:46
       EA5B48145CBAF733479368D9256BC9D6AA8EC5702C56014718B4A1CBA7E39563
41     Info Hash:                                                         08-20-     Blacked   03-21-2018   04-12-2018   PA0002091520
       2F73A144B780B7D386C021B9DFCA2C674931DEE8                           2020
       File Hash:                                                         13:34:28
       F85AE75227D8B66E7A0DEAC0477536890D8F9ECE99E4FA681CC88AAEC3688FDF
42     Info Hash:                                                         08-19-     Blacked   06-22-2020   07-16-2020   PA0002248579
       5A425FDB7FFB5049E12D808FDDA461C2F7407B34                           2020       Raw
       File Hash:                                                         13:54:24
       DF4B0D288618658DC49EB26217CF1544419BC25A96680CB513E8090162FC6E52
43     Info Hash:                                                         08-19-     Blacked   06-06-2020   06-22-2020   PA0002245636
       30219F5EF1E4B77DB42BCC64543DF5B1AE98239E                           2020
       File Hash:                                                         13:01:58
       754328AD4A4BC4F60A62464516F3E471E5A3E5CC77E924F967655D5A593B23D0
44     Info Hash:                                                         08-17-     Blacked   10-24-2018   11-25-2018   PA0002137640
       7C627BDADFCB1575B894A71C66ADFFB95C6EFAFE                           2020       Raw
       File Hash:                                                         12:26:34
       9BE67B021A11DC3292BCE207B18A2311A31D90B10A04F549569DC1E091AE7C9A
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
45     Info Hash:                                                         08-17-     Blacked   05-24-2018   07-14-2018   PA0002128376
       6C38232F41EA64DAA5575DD592D16021BEEE98A2                           2020
       File Hash:                                                         12:23:56
       52B6F5E4395B792AF8568C229C3F22FD6EAE978F7A3F0C55B21C0ED0216A95D3
46     Info Hash:                                                         08-17-     Blacked   04-12-2018   06-18-2018   PA0002126637
       9A5ACC9C958C00F1B826AC91A7DB3423BCE3F400                           2020       Raw
       File Hash:                                                         12:19:50
       3907F5F1B4D7BDF3C32081D6DFECFDA0FFC5A500A4853B1F1B0294CA71241F2B
47     Info Hash:                                                         08-04-     Blacked   01-20-2020   02-04-2020   PA0002225586
       4E94ED79494685938C1A0B5F42BCD1C30F137C0D                           2020
       File Hash:                                                         15:55:30
       4A44419A681C9E6241CCB8B2699BED33A47675D5848ED22EE581BD39525AD13C
48     Info Hash:                                                         07-31-     Blacked   02-14-2020   03-18-2020   PA0002241448
       30DC22BC455A78E942932BA6A8F7F46B52A3599A                           2020
       File Hash:                                                         13:53:13
       47593DA825F7E009DDDAFC9CE9441BCF2700161C4B34D88DAB2AD0E59273C81B
